Case 2:05-cr-20183-SH|\/| Document 25 Filed 07/22/05 Page 1 of 2 Page|D 30

[N TH_E UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UNITED STATES OF AMERICA, DAT!; . __.,l, .~¢. _ 1- _
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Plaimiff,
marietta M _
V' Cr.No. 05-20183-Ma
FREDERICK GWYNN,
Defendant.

 

ORDER FOR EVALUATION OF DEFENDANT
PURSUANT TO 18 U.S.C. § 4241

 

For good cause shown and without objection by the government, the Court hereby GRANTS
defendant’s oral motion for evaluation pursuant to 18 U.S.C. § 4241. Defendant shall be transferred
to a Federal Medical Facility that is available to determine defendant’s competency to stand trial.

rr ls so oRDERED this ‘>‘*'A day of July, 2005.

.M/M-»~

HONORABLE SAMUEL H. MAYS
UNITED STATES DISTRICT COURT JUDGE

 

Thls dochent entered on the docket sheet !n compliance
with R\\|e 55 and)'or 32tb1 FFlCrP on '

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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.luly 27, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

